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DECLARATION OF LUZ L.
I, LUZ L., declare as follows:
l. I make this declaration based on my own personal knowledge and if

called as a witness, I could and would testify to the following matters.

2. [ am the mother of Daniel Ramirez Medina. Before moving to
Washington late last year, Daniel lived with me at my home in the central California
ever since he arrived in the United States in 2003.

3. Since arriving to the United States in 2003, Daniel has never left the
country. He did not travel to Mexico in 2009.

4. Most people that know Daniel would describe him as timid and calm. He
does not like to fight or be in conflict with people. When he was a child, if other kids
teased him, he would try to stay quiet and walk away from the situation instead of
yelling back at them or hurting them. He is also fearful. He often told me that he did
not like being out past 10 p.m. because he had no reason to be out that late.

5. Daniel experienced a lot of bullying as a result of his weight when he was
growing up. He’s always been a bit chubby, and other kids would often tease him
about that. I think the bullying was why he didn’t like going to school. I think it was
hard to him to have to go in and face that everyday. As a result, Daniel preferred to
stay home a lot of the time and spend time with family.

6. Daniel did not have discipline problems while he was at school. The
school never called me to tell me he was in trouble for any reason. To my knowledge,
Daniel was never suspended or expelled from school.

7. Daniel dropped out of high school sometime during his first two years of
school. At the time, I was struggling to make ends meet and Daniel wanted to help me
financially. I did not want him to drop out, and it broke my heart to seem him leave
school, but he wanted to help our family. He went back to adult school afterwards in
order to get his diploma, but he was unable to complete adult school while working to

support his family.

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8. When Daniel turned 18, he got a tattoo on his forearm. When he was a
minor, he used to tell me he wanted a tattoo because he liked the way it looked, but I
was always against it and told him not to get one. As young kids will do, as soon after
he turned 18 he went out and did exactly what I told him not to do. The tattoo says,
“La Paz, BCS” and has a star underneath the letters. “BCS” stands for Baja California
Sur, or Southern Baja California, which is where he was born. When he came home
with the tattoo I asked him why he got that tattoo and he replied that it was because he
wanted to remember where he came from. The United States is home for him, but ]
think he just wanted to remember where he had started. When I asked him why he got
the star he said that he just saw it and liked the way it looked. The tattoo has no gang
affiliation for him. It just represents where he was born. It is his only tattoo.

9. Daniel has never been in or affiliated with a gang. Daniel does not even|
like to go out much or hang around with lots of people. He is very calm and prefers to
stay home with his family. My son is the opposite of a bad person; he is very noble
and has a big heart. He is always helping people. Since he was young, if he sees
someone asking for money on the street, he would give him whatever change he had
and say, “Maybe today they need it more than I do.”

10. Daniel has a son, Daniel Jr., who is three years old and a U.S. citizen.
Ever since Daniel Jr. was born, my son has lived for that child. Yesterday, Daniel Jr.
saw a picture of his dad on the news and started screaming “Papa! Papa, es mi papa!”
(“Dad! Dad, that's my dad!’’) Daniel Jr. misses his dad so much.

11. Daniel left to go to Seattle, Washington in mid-December of 2016. He
left because he thought he could find a better paying job in Seattle, where his brother
lives. Daniel wanted to find a better job in order to provide his son with a more stable
life. Daniel told me that he wanted to save up some money in order to buy a house for
us and for his son, so that we could have a little place to call our own. When he left to

Washington, his plan was to find a job and eventually have his sister and I move there

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with him, and try to reach an agreement with his ex-girlfriend to have his son with
home sometime while he was there.

12. My son is a great father, brother, and son. He’s a kind person who would
never do harm to someone else. He is not a gang member. He needs to be here, at
home, close to his son.

13. I am very scared that he will get sent to Mexico. I hear that the town
where we are from is very dangerous now. I often see reports that violence and theft is
common and that there are a large number of people who have gone missing and are

found months later, dead. I do not want my son to have to live in fear of his life.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed on February 16, 2017, in

Lindsay, California.

LUZ L.

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